                                                                                              h
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                                                                                         !
                                                                             CLERK'SoFFic: U.s.DlsT,couRr
                                                                                 ATCHARLQU ESVILE,VA
                                                                                              >ILED .

                                                                                       MAY 02 2213
                           IN TH E UN ITED STATES D ISTRICT CO URT
                          FO R THE W ESTERN DISTRICT OF V IR GIN IA                J           DL OJ'VKX
                                  CHARLOTTESVILLE DIVISION                        t:          j         -
                                                                                              I

    UN ITED STA TES O F AM ER IC A,                    CA SE N O .3:12CR00032                 :



                                                       REPORT AND RECOM M ENDATION
    K IM BERLY A N N IESBERTS,                                                                q
                                                      '                                       :
           Defendant.                                  By:    B.W A U GH CRIG LER
                                                              U .S.M A GISTR ATE JU D GE
                                                                                              i


           lnaccordancewiththeprovisionsofTitle28U.S.C.j636(b)(3),anduponthe
    defendant's consent,this case w asreferred to the undersigned to conducta plea hearing.

'
    DEFENDANT'SRESPONSES TO RULE 11INQUIRY
                                                                                              i
           TheGrandJuryreturned amultiple-countlndictmentchargingdefendantinCountOne
                                                                                              !
                                                                                              I
    withknowinglyandintentionallyconspiringtopossesswithintenttodistribute,andtodist
                                                                                   ribute,
                                                                                   I

    fifty(50)ormorekilogramsofmarijuana,aSchedule1controlled substanceinviolationof
                                                                                  ,Title
                                                                                              :
    21,UnitedStatesCode,Section841(a)(1),allinviolationofTitle21,UnitedStatesCode,;
                                                                                              i
    Sections846.Defendantwasnotcharged in CountsTwo and Threeoftheindictm ent.Defçndant
                                                                                 i
    has entered into a plea agreem entto plead guilty to CountOne.                             !
                                                                                               :
                                                                                               !

          O n A pril24,2013,a plea hearing w as conducted before the undersigned. The defkndant
                                                                                          I
                                                                                          l
    wasplaced underoath and testified thatherfulllegalnam eisKimberly Ann Iesberts,she Fas
                                                                                               i
    born on January 25, 1978,andshehascompl                                   I ant
                                          etedmorethantwoyearsofcollege.ThedeNnd
                                                                              !
    statedthatshecanread,write,andunderstandtheEnglishlanguage.Thedefendantfurthe)
                                                                                               i
    stated thatshewasfully awareofthe nature ofthechargesagainstherand theconsequencçsof
                                                                                           i
    pleading guilty to those charges. The defendantinform ed the courtthatshe w as notunder'
                                                                                           i
                                                                                           the
                                                                                               ;
    influenceofalcohol,drugs,ormedicine ofany sort,and thatshesufferedno condition thas
                                                                                               i
    impaired herability to understand whatthecourtwassaying orthenatureoftheproceeding
                                                                                     !s.
                                                                                           (
    The defendanttestified thatshe had received a copy ofthe lndictm entpending againsther,i
                                                                                           .
                                                                                            and
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 thatshehad fully discussedthechargestherein and any defensesthereto,and hercasein general,
 w ith hercounsel. The defendantstated thatshe waspleading guilty ofher ow n free willbecause
 she w as,in fact,guilty. The defendantspecified thatshe had taken a phone callfrom one ofm en

 deliveringthemarijuanaandrelayedthatmessagetoanotherindividual.Thedefendanttestified
 thatshe understood thatthe offense in CountO ne is a felony,and ifherplea isaccepted,she w ill

 beadjudgedguiltyofthoseoffenses.Thedefendantagreedthatshewouldnotbeconsidereda
 prevailing party with regard to any charges. The defendantacknowledged thatthe plea
 agreem entonly bindsthe U nited States Attorney'sO ffice forthe W estern DistrictofVirginia

 and no otherstate or federalprosecutor or enforcem entagency.

        Thedefendantacknowledgedthatthem axim um statutory penalty isa$1,000,000 fine
 and/orim prisonm entfora term oftw enty years,togetherw ith a term of supervised release,and
 thatthere isno m inim um term ofim prisonm ent. The defendantwasinform ed thatparole has
 been abolished,and thatifshe is sentenced to prison,she w illnotbe released on parole,buton
 supervised release,a violation ofw hich could resultin additionalincarceration. The governm ent

 wasnotseeking forfeitureorrestitution,butthedefendantstatedthatshe abandoned any interest
 in the item s seized as evidence in the prosecution ofthis case.Finally,the defendanttestified that
 she understood that,upon conviction,she willbe required to pay a m andatory assessm entof

 $100 perfelony countofconviction.
        Thedefendantwasinform ed thatunderthe Sentencing Reform Actof1984,theUnited

 StatesSentencingCommissionhasissuedguidelinesforjudgestofollow indeterminingthe
 sentence in a crim inalcase. The defendantw asthen inform ed thatthe Sentencing Guidelines are

 nolongermandatory,butthesentencingjudgemayapplythem inanadvisoryfashionin
 determ ining a reasonable sentence. The defendanttestified thatshe and hercotm selhad

 discussed how the Sentencing Guidelines m ightapply in hercase. The defendantalso testified
 thatshe understood thatthe courtw ould notbe able to determ ine the applicable guideline range,
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 foradvisory pup oses,untilafterapresentencereporthasbeenprepared and both partieshave

 been given an opportunity to challenge thereported factsand application ofthe Guidelines. The
 defendantstated thatsheunderstood thatthe eventualsentence imposed m ay bedifferentfrom
 any estim ateherattorney had given her,orany recom mendation bythe government,and thatthe

 courthastheauthorityto imposea sentencethatiseitherhigherorlowerthanthatcalled forby
 the Guidelines,so long asthe sentence isnotgreaterthan the statutory m axim um forthe offense

 to w hich the defendantis pleading guilty.                                             !
                                                                                        )
           Thedefendantacknowledgeditwasagreedthatthe2012editionoftheUnitedStaies
                                                                                        ;
 SentencingGuidelinesM anualisapplicable.Thedefendantfurtheracknowledgedthat,iljthe
                                                                                        i
 PleaAgreement,ithadbeenstipulatedthatSentencingGuidelines2D1.1(a)(5)& (c),381!
                                                                              i
                                                                              .2,
 2D 1.                                                                                  :
         1(b)(16),and213l.1(b)(15)areapplicabletoherconduct,providedthatshetruthfully.
                                                                                        J
 providesal1information andevidenceconcerningtheoffensesinpersonatleastfifteen(1$)days
                                                                                        i
 priorto sentencing.Thepartiesreservedtherightto arguewhetherotherguidelinesshould;apply
 t                                                                                !
  odefendant'scase,andthegovernmentagreedthatitwouldnotobjecttoanyalternativepto
                                                                                        ;
 incarceration available including aterm ofprobation in lieu ofimprisonm entpursuantto 18
                                                                           k
 U.S.C.j3561andU.S.S.G.j581.1.Thedefendantalso statedthatsheunderstoodthattven if
                                                                                        7
 she fully cooperatesw ith law enforcem ent,the governm entisunderno obligation to file :
                                                                                         !
 m otion to reduce hersentence forsubstantialassistance,and ifthe governm entm akesthe
                                                                                        !
 m otion,itisup tothecourtto determ inehow much ofadeparture,ifany,should bem adé.. The
                                                                                        i
 defendantstatedthatsheunderstoodthat,contingentuponheracceptanceofresponsibility and
                                                                                        i
 continued cooperation inthe sentencingprocess,and fulfillm entofherdutiesunderthe Plea
 Agreement,thegovenunentwillrecommendatwo-level(2)reductionunderU.S.S.G. !
 j3E1.1(a).Thedefendantagreedthatshehadknowingly andvoluntarilywaivedherrightsto
                                                                                        !
                                                                                        !
 requestorreceive any recordspertaining to the investigation orprosecution ofhercase,
 including any recordsthatm ay be soughtunderthe Freedom oflnform ation Actorthe Prl
                                                                                   tvacy
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 A ctof 1974. The defendantstated thatshe understood thatsubstantialfinesm ay be im poled in
                                                                                          !

 hercase and she agreed to subm ita financialstatem entw ithin thirty days ofa requestforsuch or
 w ithin three daysofsentencing. D efendantfurtheragreed thatfrom the tim e ofhersigning of
 thepleaagreement,orthedateshesignsthefinancialstatement,whicheverisearlier,sheWould
 notconvey anything ofvalue w ithoutauthorization from the govenunent. The defendant :

 acknowledged hermonetary obligationsunderthepleaagreem ent,which callsforsuch to bedue

 immediatelyandsubjectto immediateenforcement.
        Thedefendantacknowledgedthatshewaswaivingherrighttohaveajurydeterminebeyond
 a reasonable doubtthe facts alleged in the lndictm ent,including any factsrelated to sentencing.

 Thedefendanttestifiedthatsheunderstoodthatshehadtherighttoatrialby ajury,inaddition
 to the follow ing rights,which w illbe w aived orgiven up ifherguilty plea isaccepted:
     1. The rightto plead notguilty and persistin thatplea;
 2. Therighttoaspeedyandpublicjurytrial;
 3. The rightto assistance ofcounselatthattrialand in any subsequentappeal;
 4. The rightto rem ain silentattrial;
 5. The rightto testify attrial;
 6. The rightto confrontand cross-exam ine w itnesses called by the governm ent;
 7. The rightto presentevidence and w itnessesin her own behalf;
 8. The rightto com pulsory processofthe court;
 9. The rightto com pelthe attendance ofw itnesses attrial;
 10.The rightto bepresum ed ilm ocent;
 11.The rightto a unanim ous guilty verdict;and
 '

 12.Therightto appeala guilty verdict.                                                    !
                                                                                          l
                                                                                          1
           Thedefendanttestifiedthatsheunderstoodthat,underthetermsoftheagreementI
                                                                                 she
                                                                                          i
 waswaivingherrightstoappeal,butthatshewasnotwaivingherrighttoappealorhave4
                                                                          .er
                                                                                          i
                                                                                          I
 attorneyfileanoticeofappealastoanyissuewhichcannotbylawbewaived.Thedefenjant
                                                                                          I
 acknowledged thatshehad agreed to waiveherrightto collaterally attack any orderissued'in the
                                                                                      I
                                                                                        j
 case,unlesssuch attack isbased on ineffective assistance ofcotm selora constitutionaldèfectin
                                                                                        1
                                                                                          I
                                                                                          !
                                                                                          1
                                                                                          !
                                                                                          !
                                                                                          1
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 jurisdiction.Thedefendantwasinformedthatifshechosetoappealany issuewhichhadbeen
 w aived,the governm entcould treatthis asa breach ofthe plea agreem entand recharge her.

        The defendanttestified thatshe understood thatshe m ay be deprived ofvaluable civil

 rights,suchastherighttovote,therighttoholdpublicoffice,therighttoserveonajury,and
 therightto possessa firearm .The defendantstated thatshewassatisfied with theadviceand

 representation given to herin this case by her counsel,and thatshe believed the representation

 had been effective. The defendantasked the courtto acceptherplea of guilty to CountOne.

 TH E G O V ER NM EN T'S EV IDEN C E

        The defendantand the Govenzm entagreed to a Stipulation ofFacts. The Stipulation of

 Factshavingbeen filed in open court,theevidencepresentedtherein regardingtheoffenses

 charged is as follow s:

        The offenses described below occurred w ithin the W estern D istrict of V irginia, The

 follow ing statem ent of facts brietly sum m arizes the facts and circum stances surrounding the

 defendant's crim inalconduct. This statem ent does not contain al1 inform ation obtained during

 the investigation or all facts applicable to an accurate presentence investigation report and

 sentencing guidelinescalculation.

        Background

        On O ctober 15,2012,Trooper ClintCraftofthe Oklahom a Highway Patrolconducted a

 traffic stop on an RV in Sequoyah County,Oklahom a.Trooper Craftinitiated the traftic stop on

 the RV for exceeding the posted speed lim it and a partially-obstructed license plate.Trooper

 Craftidentified thedriveroftheRV (hereinafleriûCS-1'')anddeterminedthedriverwasthesole
 occupant of the RV . Based on CS-1's nervous behavior, am ong other things, Trooper Craft
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 obtained consentto search the RV and subsequently seized packaged marijuana with!
                                                                                 ëa gross
 weight of 73.7 kilograms,which had been concealed in the undercarriage of the RV (the
 itM arijuana'). CS-Istated thathewasdeliveringthemarijuanato Charlottesville,Virginia,to
                                                                                       (

 deliverittohisco-conspirator,DefendantDavidFrarlkPatterson(hereinaher,Ctpatterson'l
                                                                                   !
                                                                                   ).
                                                                                        :

        CS-IhasknownPattersonforanumberofyears,andonorbeforeAugust18,201j
                                                                        1,CS-I
 agreed with Patterson to begin driving marijuana from California to Charlottesville,Virginia,
 wherePattersonwouldthensellthemarijuanatohiscontactthere.
        Controlled D elivery
 '



        Afterhisarrestin Oklahom a,CS-Iagreed to cooperate in making acontrolled exchange

 of the Marijuana to Patterson in Charlottesville,Virginia,where Patterson was ekpecting
                                                                                     (
 delivery. On O ctober 16,2012,at approxim ately 8:15 p.m .,Drug Enforcem entA dm inil
                                                                                     stration
                                                                                        l
 agents (hereinafler,;(Agents,>),1ed by SpecialAgent Jason Alznauer,outtm ed CS-I(with a
 concealed transm itting/recording device, and at approxim ately 9:30 p.m ., C S-I m et with

 Patterson in Charlottesville,Virginia.Atthis meeting,Patlerson told CS-I thathismàrijuana
 custom ers did not w ant to do the transad ion at night and that they w ould com pl4te the
                                                                                        i
 transaction the follow ing m orning. Patterson asked CS-I to m eethim at the sam e location the

 followingmorningtodelivertheM arijuana.
        On October 17,2012,atapproxim ately 8:22 a.m .,CS-I metwith Patterson attheiagreed

 upon location in Charlottesville,Virginia, for the purpose of delivering the Marijùana to
 Patterson. A t approxim ately 8:36 a.m .,after the exchange had occurred,Patterson drove aw ay
                                                                                        :
 from themeetinglocationwiththeMarijuana. Shortly thereafter,Agentsstopped Patterson and




                                               6
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 arrested him,atwhichtimetheMarijuanawasrecovered from Patlerson'svehicle.A laboratory
 testlaterrevealedthattheM arijuanahadanetweightofapproximately55.076kilogramsr
          Patterson gave astatementto Agentsin which he statedthatallofthe Marijuanùin the
 Octoberof2012 described abovewasto be purchased by som eone nam ed Sschris''at2608 Rio
                                                                                          1
 MillsRoad in Earlysville,Virginia (hereinafter,the isResidence''),which Agents identitied as
                                                                                          :
 Bishop'shom e based on a search ofpublic records. Patterson acknowledged having interacted
                                                                                          :
                                                                                          .


 with itcltris''on multiple occasions. Agentsshowed Patterson aphotograph ofBishs;p,and
 P                                                                                        i
     atterson identifiedBishopasthe$;Cl1ris''thatwastopurchasetheMarijuana.Atapproxi
                                                                                   imately
 12                                                                               I
   :00 p.m .on October 17,2012,Patterson m ade a m onitored and recorded telephone!
                                                                                  i
                                                                                   callto

 Bishop's cellular telephone num ber. During the conversation,Bishop directed Pattetson to
 '
                                                                                          :

 proceedtotheResidenceandtoentertheResidenceinsidewithahiddengaragedoor# enerif
 Bishop wasnotpresent. Patterson had previously agreed with Bishop to selltheM arijt
                                                                                   ïl
                                                                                    anato
                                                                                          7
 B ishop forU .S.Currency afteraniving atthe Residence.

          At around 1:52 p.m .,Agents executed a search wan'ant atthe Residence and yrrested

 B ishop. D uring a search of the Residence, Agents recovered, among other thingà, over

 $389,000.00 in U.S.currency,packaging materials,and a large setofdigitalscales. i
                                                                                 pishop
 m aintained a storage room attached to hishom e and accessed through the garage. ln the jtorage

 room ,there was a storage freezer, a large safe containing a large portion of the bulk cash
                                                                                          1
 referencedabove,andapproximatelyonekilogram ofpackaged marijuana.
          lesberts'R ole in the O ffense
          lf this m atter proceeded to trial, the United States would offer factsto prove be:
                                                                                            yond a
                                                                                          :
 reasonable doubtthatanotherco-conspirator,Kimberly Iesberts(dilesberts'),aided and h
                                                                                    :
                                                                                     betted


                                                 7
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 CS-Iand Patterson intheirconspiracytodistributetheM arijuanain Charlottesville,Virginia,in
 Octoberof2012. To facilitate the delivery ofthe M arijuana to Charlottesville,Virj!
                                                                                   inia,in
 Octoberof2012,CS-IwouldtestifythatasCS-Ibegantravelingfrom CaliforniatoVirginia,
                                                                                         l
                                                                                         I
 Iesberts acted asthe point ofcontactbetween CS-I and Patterson,keeping tabs on ICS-I's
                                                                                         I
 progressandwhereaboutsnearly every dayduring CS-1'strip and reportingthisinforrvtion to
 P
                                                                                 lI
  atterson. This information is conoborated by telephone records and a recorded coht
                                                                                  i
                                                                                    rolled

 telephonecallbetweenCS-Iandlesberts.CS-Iwouldalsotestifythatlesbertshelpedljadthe
                                                                                         I
 M arijuanaintotheconcealedstoragecompartmentsonCS-I'sRV.                                i
 FIN DIN G S O F FA CT
                                                                                       i
        Based on the evidence presented atthe plea hearing,the undersigned now subm its'
                                                                                       the
                                                                                       j
 following folnnalsndingsoffact,conclusionsand recom m endations'
                                                                .                        1
                                                                                         i
         Th                                                                              i
            edefendantisfullycompetentandcapableofenteringintoapleaagreementaljd
                                                                                         1
        m aking an informedplea;                                                         I
                                                                                         j
                                                                                         i
                                                                                         l
     (2) Thedefendantisawareofthenatureofthechargesandtheconsequencesofherp/ea;
                                                                                 i
     (3)Thedefendantknowingly andvoluntarily entered aplea ofguiltyto CountOne ofI
                                                                                 jhe     i

        Indictm ent'
                   ,and
                                                                                    ;
     (4)Theevidence presentsan independentbasisin factcontaining each oftheessentiali
                                                                                    j
                                                                                    !
        elem entsofthe offense to which the defendantis pleading guilty.                 !
                                                                                         j
                                                                                         1
 RECOM M ENDED DISPOSITION                                                               I
        B                                                                                (
          ased upon the above findings offact,the undersigned RECO M M EN D S thatthe çourt
                                                                                         i
 acceptthedefendant'spleaofguiltyto CountOneofthelndictm ent.Theundersigned              E
                                                                                         :
 DIRECTSthatapresentencereportbeprepared.A sentencinghearingherebyisschedule)for
 A ugust 12,2013 at 10:00 a.m .before the presiding D istrictJudge in Charlottesville.   i
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                                                                                         i


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 N O TICE TO PAR TIES
                                                                                         1
        Noticeisherebygiventothepartiesoftheprovisionsof28U.S.C.j636(b)(1)(C)t
                                                                                         I
                                                                                         !
 W ithinfourteen days(14)afterbeingselwedwithacopyofthisReportandRecommendation,
                                                                                         i
 anypartymayserveand filewrittenobjectionstosuchproposedfindingsandrecommenctations
                                                                                         l
                                                                                         l
 asprovidedbyrulesofcourt.ThepresidingDistrictJudgeshallmakeadenovodetermiùation
                                                                                         i
                                                                                         !
 ofthoseportionsofthereportorspecifedproposedfindingsorrecommendationstowhich
                                                                                         i
 objection ismade.ThepresidingDistrictJudgemayaccept,reject,ormodify,inwholeofin
                                                                                         I
 Part,thefindingsorrecommendationsmadebytheundersigned.Thejudgemayalsorective
                                                                                         E
 further evidence orrecom m itthe m atterto the tm dersigned with instructions.          i
                                                                                         l
                                                                                         !
                                                                                         !

        Failuretofiletimelymittenobjectionstotheseproposedfindingsandrecommenlations
                                                                                           !
                                                                                           i
 w ithin fourteen days could w aive appellate review . A tthe conclusion ofthe fourteen-dayj
                                                                                           period,
                                                                                         I
 theClerk isdirectedtotransmittherecordinthismattertothepresidingUnited StatesDidtrict
 Judge.
        Th                                                                               i
           eClerk isherebydirededto sendacertifiedcopyofthisReportandRecommeljdation
                                                                                         1
 to a1lcounselofrecord.                                                                  i
                                                                                         ;
                                                                                         i
                       EN TERED :
                                      G ited StatesM agistrateJ dge

                                         y'-ry -p sy'g
                                      D ate




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